4:11-cr-03087-JMG-CRZ    Doc # 328   Filed: 01/04/16   Page 1 of 1 - Page ID # 2713




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )                4:11CR3087-1
                                      )
            V.                        )
                                      )
GUY E. ALLEN,                         )                   ORDER
                                      )
                  Defendant.          )
                                      )


      IT IS ORDERED that the defendant’s motion to extend (filing no. 327) is
denied. A copy of this order shall be mailed to the defendant at his last known
address.

      DATED this 4th day of January, 2016.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     Senior United States District Judge
